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         ORDERED in the Southern District of Florida on August 3, 2023.




                                                                     Erik P. Kimball, Judge
                                                                     United States Bankruptcy Court
_____________________________________________________________________________




                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                         WEST PALM BEACH DIVISION
                                             www.flsb.uscourts.gov

         In re:
                                                                            Case No. 23-12386-EPK
         BANYAN CAY RESORT & GOLF, LLC, et al1                              Chapter 11

                                                                            (Jointly Administered)

                           Debtor.
         _____________________________________/

                  ORDER GRANTING CONTRACT PURCHASER’S EMERGENCY MOTION TO
                  MODIFY ORDER [ECF NO. 105] TO RESTATE LEGAL DESCRIPTION AND TO
                  APPROVE A 21ST AMENDMENT TO AGREEMENT FOR PURCHASE AND SALE
                                   OF REAL PROPERTY [ECF NO. 270]
                   THIS Matter came before the Court on July 25, 2023, at 1:30 p.m. in West Palm Beach,



         1
          The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
         Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay Maintenance,
         LLC. The address of the Debtors is 1900 Banyan Club Road,
                                                               - 1 - West Palm Beach, Florida 33401.
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 Florida upon the Contract Purchaser’s Emergency Motion to Modify Order [ECF No. 105] to

 Restate Legal Description and to Approve a 21 st Amendment to Agreement for Purchase and

 Sale of real Property [ECF No. 270] (the “Motion”), and the Court having heard presentation by

 Debtor’s counsel and by counsel for Contract Purchaser, and otherwise fully advised.

 Accordingly, it is ORDERED as follows:

       1.      The Motion is GRANTED.

       2.      The Contract Purchaser and Debtor are authorized to enter into a 21 st

Amendment to clarify the legal description to:

               All of Tract “L2”, Banyan Cay Resort, as recorded in Plat Book 125, Page
               114, Public Records of Palm Beach County, Florida.

       3.      The Contract Purchaser and Debtor are authorized to enter into the 21 St

Amendment to further provide for escrow arrangements between Westside and Banyan Cay

Estates as stated in the 21st Amendment attached to the Motion.

       4.      The Court reserves jurisdiction to enforce the terms of this Order.

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SUBMITTED BY:

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Robert C. Furr, Esq. shall serve a copy of the signed order on all parties listed on the official
court matrix and file with the court a certificate of service conforming with Local Rule 2002-1(F).



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